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Page 1 of 2 PageID: 299                          Filed 07/09/10                         Document 82                          Case 2:09-cr-00501-SRC
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                                                                                                                       fI
           Instrument No.1(6-0663
                                           112-0000 recorded in
                                                                   the United States Distric
                                                                                                 t Court, Case No. 09-C
           863. on December 3, 20                                                                                            R-
                                          09 be and is hereby disc
                                                                       harged as surety for de
                                                                                                fendant Peter Ventrice
           and                                                                                                         lli

                      IT IS FURTHER ORDER
                                                    ED that Peter Ventrice
                                                                              lli and Rosalia Ventrice
          and all documents with                                                                         lli execute any
                                      the Clerk of the United
                                                              St       ates District (nun for
                                                                                                 the District of New
          Jersey to re-record the su
                                          rety lien on the proper
                                                                  ty
                                                          at 1708 Manhattan Ave
                                                                                 nue, Union City, New
       Jersey 07087 within tw
                              enty-four hours of the
                                                     completion of the mortg
                                                                              age refinancing on the
      aforementioned real pr
                             operty and in no event
                                                     later than three weeks
                                                                            from the date this Order
      entered.                                                                                       is




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                                                         United States District Co
                                                                                   urt Judg         e
    I consent to the form an
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    of the within Order
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          ‘A”-’Ct.c’.
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    Leslie Faye Scbwatiz
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    Assistant U.S. Atto
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